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Plaintife: Anae He Chisholy VS [ PwC) pet LLe
Mary Sa Slow ¢

Amencled niles tin

January 12, 2020

In this case the plaintiff Annette Chisholm has made a claim under the Federal Civil rights statue (section

1981) that prohibits discrimination against an employee because of a persons race.

Specifically Annette Chisholm claims that she was racially discriminated against by two of PwC’s leadership

team Warren Holding and Mary Saslow because of plaintiffs race.

2020 <r OF

PwC denies that Annette was discriminated against in any way.

jn
I will now instruct you more fully on the issues you must address in this case. DN

On the issue of race discrimination the plaintiff Annette Chisholm was singled out and the only individual‘dn
the entire Ethics and Compliance team not allowed to move to a flexible work arrangement after the six =~
month in office period prescribed by leadership. On 1/3/2017 via telephone her Manger Maureen Gasset”,
black Kenyan) who sat in the firms NJ office at the time advised her that she would not be able to work from |
home. Maureen advised her “leadership” felt like there were areas that needed improvement. The plaintiff
then asked her what those areas were and Maureen replied “Katherine you're supervisor will tell you”. When
the plaintiff asked Katherine Israel (white Jewish female) her supervisor what the areas of improvement

were, Katherine replied she didn’t feel like she should have been prevented from working from home. She

was not given any specific reason nor asked prior to Warren Holding’s (white South African male) decision

to prevent the plaintiff from moving to a flexible work arrangement. Katherine, the plaintiffs supervisor sat
in the Tampa office close in proximity to the plaintiff and the defendant Warren/PwC. Keep in mind the
entire firm workforce is a flexible work arrangement. Employees must reserve hotel/seating on in office

days. The job the plaintiff was hired for on the Ethics and compliance clearances team was a flexible work
arrangement. The team had White females (on operations team) on legitimate HR performance

improvement plans what the firm calls a “PIP”, who were allowed to work from home. Also please find the
plaintiffs performance snapshot enclosed for the period in which she was denied a flexible work arrangement

due to “work performance”.

Further on the issue of racial discrimination the defendant Mary Saslow/PwC hostile and abusive tone and
acts were never directed towards the plaintiffs back up support Shelley Bartlett who is white. Only the
plaintiff was subjected to threats to call her manager from March 2017 until the plaintiff left on disability

leave. The defendant Mary did follow through reaching out to the Plaintiffs manager Gavin Mitchell
once. She defendant Mary Saslow/PwC emailed the plaintiffs manager after an overly aggressive
conversation with the plaintiff where she made good on her threat. In the email Mary asked Gavin about
document editing. The defendant had spoken to the plaintiff via the phone who advised her that she was not
a expert in the particular program Mary needed assistance with but could find a colleague who could or use
the firms document production to ensure a timely turnaround. This is the standard procedure in the ASC.
The plaintiffs manager gave her the same response as Annette did minutes earlier. The defendant Mary
only provided one performance feedback to Gavin. In that feedback via phone Mary asked the plaintiff's
manager “what does Annette do?”. The plaintiff had previously provided her the standard menu of services
and 2 biographies (one video one written) when she began supporting Mary. Mary was well informed on the
plaintiff's time with the firma, jobs, education background to personal hobbies and family members. The
defendant Mary did not provide any negative or adverse work performance issues during the initial feedback
and never provided any feedback to subsequent managers, in spite of her apparent dissatisfaction with the

plaintiff.

On the issue of Hostile and abusive work environment. Please find enclosed emails from the plaintiff to
defendant/PwC Human Resources and Ethics and compliance in regards to Warren's discriminatory
actions. The plaintiff still does not know the reason she was prevented from joining the entire team in
moving to a flexible work arrangement. The plaintiff Annette remained in the office with no guidance, no
instruction nor acknowledgement of wrong doing from 1/3/17 until she started a new role 2/2/17. No
corrective action was taken. The defendant Warren Holding was promoted to director shortly after. On the
same issue as in regards to the defendant Mary Saslow/PwC. Mary was extremely tactful with her hostility
and abuse by using the firms Google hangouts to send threatening and intimidating messages of aggression
ending with immediately or urgent prompting the plaintiff to call her as to not leave a trace or paper trail.
The plaintiff was out on bereavement after two deaths one week apart. During her leave from work the
defendant Mary made changes to her travel reservations. The day the plaintiff returned to work Mary
aggressively accused her of canceling her flight. On a telephone call Mary accused the plaintiff three

times. Mary still not believing Annette she then made the plaintiff call AMEX travel on 3 way to find out the
flight had not been cancelled. The plaintiff did not go to HR after the incident but did tell her manager.
Keep in mind the plaintiff got no remedy nor neutrality from her previous HR/Ethics and Compliance
complaints and she knew the process to remove Mary from her desk would take time. The plaintiff felt the
PwC work environment had become too stressful and toxie and began taking a toll on her physically and

emotionally so she took the short-term disability benefits on 01/18/2019.

 

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The plaintiff is seeking compensatory damages in the amount of $33 million dollars. The plaintiff has been

medically diagnosed with PTSD, Depression, Anxiety and insomnia by a psychiatrist. In addition to loss of
enjoyment of life, the plaintiff suffered embarrassment and humiliation in both the work office and the home
office. The plaintiff went two years without filing taxes, late on bills, lack of physical exercise. Please keep in
mind that the plaintiff is also a disabled veteran and single mother and suffers from thyroid

disease. Management of stress plays a huge part in managing thyroid disease and she was a very physically
fit individual a runner, boxer and snowboarder. The plaintiff suffered several thyroid crisis episodes as a
result of the stress having to have her daily dosage of synthroid adjusted each time. The plaintiff is mindful
of the stress so much te the extent that she left PwC in 2014 after suffering a medical emergency, divorce and
death of a close friend to heal. The plaintiffs’ cousin (like a sister} was diagnosed with cancer a week after the
first discrimination incident took place involving the defendant Warren. The plaintiff says she went inte
fight or flight mode and ended up in another hostile diseriminatory work environment with Mary. The
plaintiff returned te work December 18, 2018 after her cousin succumbed to cancer. The same day back
from bereavement/vacation Mary belligerently accused Annette of cancelling a flight she made while the
plaintiff was out. The plaintiff was turned down by two psychiatrists who would not treat her without
medication both stated that the issues were too compounded to not treat without medication. She ended up
being prescribed medication after finding a Holistic Psychiatrist whom she is currently under the care of and
paying out of pocket because the insurance would not cover this provider. The plaintiff was terminated
trom employment from PwC on 12/23/2019 after her long-term disability was denied. She is working to
appeal the denial with the insurance company. ‘The plaintiff has suffered financial hardships that have
caused her to depend on public assistance and outreach programs for food stamps assistance and help with
utilities. The emotional distress has been severe to the point it’s affected the plaintiffs family relationships
all in the midst of healing, grieving and coping with unavoidable life issues, compounded with having to see
Warren on in office days and dealing with Mary and being made to feel uncomfortable working from home.
The plaintiff truly tried to make it work after the first incident by moving to another role only to have that

same negative element appear again and make her time at PwC incredibly hard.

The plaintiff is asking the court to consider punitive damages. PwC is a very large global firm and has an
impeccable reputation for being a leader in diversity and it’s efforts to build trust in society and solve
important problems. The deliberate ill actions of the defendants Mary and Warren/PwC are not in line with
the firm’s core values (act with integrity, make a difference, care, work together). Nor are they in line with

the firm's professional framework, which is applicable for staff and leadership regardiess of level. Warren is
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a global transfer from South Africa and has managed large groups of individuals with his time managing the
Service Delivery Center primarily comprised of young people fresh out of college. It's extremely hard to
comprehend that he would need additional “coaching” on performance improvement and disciplinary
actions or not reach out to HR when in question to ensure he was acting within firm policies or procedures.
Leading one to believe the defendants actions were deliberate with ill intent directly solely at the plaintiff.
The same goes for Mary she has been employed with the firm for over 92 years no bad day or personal
struggle/issue can justify their actions/behavior in a workplace setting. Their actions undermine the firm’s
initiative to build a diverse and inclusive work environment instead their actions create a Hability for the
firm. The plaintiff has been employed with the firm for over 10 years and has no disciplinary actions or
behavioral issues in the workplace and she has had a turbulent 3 years since rejoining PwC and did not act
out in the workplace. The plaintiff felt like it was what the defendants wanted her te do and live up to a
“stereotype” to justify their ill actions. The plaintiff in her role prior to going out on leave supported 2
Partners and 5 Managing Directors and knows what good leadership that aligns with the firms core values

and framework looks like and carried herself with decorum while working.

Atrach ments &n Closed

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H+ Peclormance Review

 

 
 

Se Forwarded message ---------

From: Annette Chisholm (US - IFS) < >
Date: Mon, Feb 13, 2017 at 10:61 AM

Subject: Re: E&C Clearances Team

To: Jessica Raniolo (US - IFS) < >

Hi Jessica, I'm back in the office today. My calendar is up
to date and I'm available at your earliest convenience. Look
forward to speaking with you.

Kind regards,
Annette

On Wed, Feb 1, 2017 at 9:20 PM, Jessica Raniolo (US - IFS)
< > wrote:
Hi Annette,

I am sorry to hear you are still not doing well. Please let me
know once you are back and I will set up some time to connect
further on this concern that you have raised and determine
appropriate next steps.

Thank you,
Jessica

101 Hudson Sireet, Jersey City, New Jersey, 07302

Office: (201) 521-4408 Cell: 914-494-5517
Email:

On Wed, Feb 1, 2617 at 2:30 PM, Annette Chisholm (US — IFS)
< > wrote:

Hi Jessica,

I'm still not 100%, it's been a stressful situation and I
Start my new role Monday. I have medical issues that become
aggravated by stress.

My biggest concern is why was I was the only coordinator
unable to work from home? It is my assumption that the emails
I forwarded you are why. I also ask that you please talk to
other E&C teammates about the meeting that took place in my
 

absence. I know for sure that Norris and Rachel were in the
meeting and both said that Warrens tone on the matter made
everyone in the room feel uncomfortable. I can not speak to
it only that it was a honest mistake on my part. I also know
that I was not the only person to make that error.

Regards,
Annette

On Wed, Feb 1, 2017 at 8:40 AM Jessica Raniolo {US - IFS)

< > wrote:

Hi Annette,

Hope you are feeling better and I am sorry to hear you are not
feeling well! Thank you for the note. When you are back, I
think it would be best to set up some time to connect so I can
better understand your concern.

Please let me know when you are feeling better and back at
work and I will set something up.

Thank you,
Jessica

101 Hudson Street, Jersey City, New Jersey, 07302

Office: (201} 521-4408 Cell: 914-494-5517
Email:

On Mon, Jan 30, 2017 at 12:32 PM, Annette Chisholm (US -
IFS} < > wrote:

Hi Jessica, There is a matter I would Like to make you aware
of. iI am a coordinator on the E&C
Clearances team. After the holiday break

I was told I could not work from home. I was the only
coordinator that

couldn't. I asked

Maureen would she tell me the reason and she said she would
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rather my
supervisor sr associate Katharine did.

She assured me that it wasn’t need for worry it was not like I
made

errors in work performance and she felt confident it was
something I could

get or improve on. In my opinion and

Maureen’s tone it seemed as though she delivered the message
reluctantly.

I had my opinion on the reason I was unable to work from
home. It wasn't until I shared the news

with my team members Norris & Rachel they gave me their
opinion based on a vacation

matter that was discussed in a meeting by Warren. I was

out on vacation and forgot to update the team calendar, I was
not the only

person per Maureen and it was supposedly mentioned in the
meeting. I’ve heard that the tone of the meeting made

everyone very uncomfortable. I was not

in the office so cannot speak to what was said in a meeting to
make them voice

their opinion to me. This issue has caused me great stress
both

physically and emotionally. Last week I had a conversation
with Katharine who

told me she voiced her opinion on how she thought it was
unfair. This has been the consensus of people who have
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spoken to me about my not being able to work from home.

TI have accepted another role internally and will be starting
2/6. I was sick with a cold/flu virus

and came into the office twice to interview for jobs outside
of E&C. We've had several issues on our team and one
individual was fired. A majority of

my time on the team was stressful to the extent it aggravated
pre-existing

health/medical issues. I didn’t feel as though

it was in my best interest to speak up earlier until I had a
full time permanent role with PwC. I’ve been with PwC 9

years and have never been treated like this especially with no
valid explanation or

reason. If it is not my work
performance, what is 1t? I am out today
I’ve taken a sick day. Please feel free

to call me at your convenience my cell is 813-391-5369

Annette Chisholm

PwC Ethics & Compliance

Office: 813.577.4201 | Cell: 813.838.6428
Email:

PricewaterhouseCoopers LLP

4046 W Boy Scout Blvd, Tampa FL 336807

Thoughts don't need paper to take shape
 

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PricewaterhouseCoopers LLP

4040 W Boy Scout Blvd, Tampa FL 33607

Thoughts don't need paper to take shape

Annette Chisholm

PwC | Administrative Support Concierge
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Thoughts don't need paper to take shape

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----—----- Forwarded message ---------

From: Annette Chisholm (US - IFS) < >
Date: Wed, Apr 5, 2017 at 5:09 PM

Subject: Re: Connect

To: Steve Kessler (US - IFS) < >

Thank you for the update Steve.
On Wed, Apr 5, 2017 at 3:42 PM, Steve Kessler (US - IFS) < > wrote:

Annette,
Thank you for raising your concerns.

Len Assante, E&BC Manager, will be reaching out to you to discuss the concerns you set forth in
the email below.

Thanks again.

Steve
On Thu, Mar 30, 2017 at 12:32 PM, Annette Chishotm (US - [FS) < > wrote:

Hi Steve, Hope you're

well. | did speak with Jessica earlier this week. | am still

unclear of why | was singled out and unable to work from home out of all the
coordinators as well as the entire E&C team. The reason Jessica

provided was "Leadership felt that | was not progressing with my peers and
could benefit being in the office longer." Please keep in mind |

have been with PwC for over 9 years approximately 2 1/2 of those working from
home. | asked if this decision was based on speaking to my immediate

supervisor Katharine and manager Maureen as they would be best to determine
my

work quality versus the Leadership Warren and/or Allison. She responded
yes...she also mentioned my snapshots. | have one complete snapshot from

Jun-Aug and one that has been acknowledged by Katherine from Oct- Jan. So
again I'm confused

as to what the decision was based on. [| do not believe Maureen nor
 

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Katharine were consulted or asked about my work performance or 'progression'

prior to the decision.

hm now even more

inclined to believe the decision was made deliberately and consciously. |

feel as though Warren may have a blind spot when it comes to diverse
individuals. | had a conversation with Norris Dicks who is the sole

remaining coordinator on clearances previously. Norris wanted to apply

for the senior associate role on clearances and like every coordinator that

left clearances for other roles reached out to Warren. His conversation with
Warren was very different from the other coordinators. He was given the

same blanket leadership reasoning of why he was not ready for progression that
| received from Jessica. My response and advice to him was to reach out

to our manager Maureen and his supervisor to find out the specifics.

If | had any issues

with my work performance/ progression | should've been made aware of the
specific areas. | asked for those areas Maureen could not provide any and
my assumption is because Warren/leadership never provided a reason. How
could | have been re-evaluated at a month without knowing what the initial
factor that kept me from working from home was? ! would like to know what
facts Warren and/or Leadership based the decision on. I'm very mindful of

my personal and professional brand. This matter was and is still is
 

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a stressful one, the resolution provided by Jessica is disheartening and not
justification of my unfair treatment. | would greatly appreciate

any assistance you couid provide in the matter.

Kind Regards,

Annette
On Sun, Mar 26, 2017 at 11:22 AM, Steve Kessler (US ~ IFS) < > wrote:

Anette,
Thanks for following up. { will get back to you.

Steve
On Wed, Mar 22, 2017 at 11:49 AM, Annette Chisholm (US - IFS) < > wrote:

Hi Steve, Hope all is well. Just touching base to see if a reason was given on my being the only individual
on the entire team unable to work from home?
Kind Regards,
 

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Annette
On Thu, Mar 2, 2017 at 10:63 AM, Steve Kessler (US - IFS) < > wrote:

Annette, thanks for sending. Looking forward to speaking with you.

Steve
On Thu, Mar 2, 2017 at 9:29 AM, Annetie Chisholm (US - IFS) < > wrote:

Hi Steve, I've forwarded some of the emails from my interaction with Jessica, Thanks for taking the time
to connect and discuss the issue, During my phone conversation I did not get the ‘neutral’ perspeetive on
the issue I had anticipated. | felt as if Jessica made excuses for the behavior and at one point gave her
personal opinion on how she didn't think Warren would not do something like that intentionally. The fact
still remains, I still was never given a reason on why | was the only coordinator unable to work from
home. | look forward to our conversation.

Kind Regards,
Annette Chisholm

PwC {| Administrative Support Concierge
Office: | Cell:

Email:

PricewaterhouseCoopers LLP

4640 W Boy Scout Blvd, Tampa FL 33607

Thoughts don't need paper to take shape
Case 8:21-cv-00693-WFJ-AAS Document 1-1 Filed 03/23/21 Page 15 of 36 PagelD 20

 

DATE/TIME RECEIVED : 03/06/2020 10:01
TYPE OF PROCESS : AMENDED SUMMONS, COMPLAINT

ANNETTE CHISHOLM
1902 SPRUCE ST W
TAMPA, FL 33607

PLAINTIFF(S)
ANNETTE CHISHOLM

HILLSBOROUGH COUNTY

SHERIFF'S OFFICE
CIVIL PROCESS SECTION

DATE RETURNED : 06/03/2020

CIVIL # HS 2020-7552

CASE # 20-CA-304
Court : CIRCUIT COURT CIVIL

HILLSBOROUGH COUNTY, FLORIDA

DEFENDANT(S)

PRICE WATERHOUSE COOPERS LLC

 

SUBJECT:
DATE/TIME:
BY:
ADDRESS:
REMARKS:

ATTEMPT TO SERVE #1

PRICE WATERHOUSE COOPERS LLC
03/12/2020 10:05

232343 - SOTO, HERBERT

4040 BOY SCOUT BL W, TAMPA

BUILDING IS EMPTY ONLY SECURITY IS THERE

 

 

SUBJECT:

DATE/TIME:
BY:
ADDRESS:
REMARKS:

ATTEMPT TO SERVE #2

PRICE WATERHOUSE COOPERS LLC
03/13/2020 07:50

232343 - SOTO, HERBERT

4040 BOY SCOUT BL W, TAMPA

PER ANNETTE 813-391-5369 TRY OGC

 

 

ATTEMPT TO SERVE #3

SUBJECT:
DATE/TIME:
BY:
ADDRESS:
REMARKS:

PRICE WATERHOUSE COOPERS LLC
03/13/2020 10:35

232343 - SOTO, HERBERT

4040 BOY SCOUT BL W, TAMPA
BIULDING CLOSED UNTIL 26 MARCH

 

 

 

ATTEMPT TO SERVE #4

SUBJECT:
DATE/TIME:
BY:
ADDRESS:
REMARKS:

PRICE WATERHOUSE COOPERS LLC
05/21/2020 10:18

232343 - SOTO, HERBERT

4040 BOY SCOUT BL W, TAMPA
CLOSED

 

 

Electronically Filed (HCSO): Hillsborough County/13th Judicial Circuit at: 06/03/2020 10:30:44 AM

P.O. BOX 3371 HILLSBOROUGH COUNTY TAMPA, FLORIDA 33601
PAGE 1/2

PHONE (813)242-5200

WWW.HCSO.TAMPA.FL.US
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HILLSBOROUGH COUNTY
SHERIFF'S OFFICE

Civil # HS 2020-7552

Case # 20-CA-304

CIVIL PROCESS SECTION
Court : CIRCUIT COURT CIVIL

 

ATTEMPT TO SERVE #5

 

SUBJECT:
DATE/TIME:
BY:
ADDRESS:
REMARKS:

PRICE WATERHOUSE COOPERS LLC
05/26/2020 08:07

232343 - SOTO, HERBERT

4040 BOY SCOUT BL W, TAMPA
BUILDING CLOSED

 

 

ATTEMPT TO SERVE #6

 

SUBJECT:
DATE/TIME:
BY:
ADDRESS:
REMARKS:

PRICE WATERHOUSE COOPERS LLC

06/01/2020 10:40

232343 - SOTO, HERBERT

4040 BOY SCOUT BL W, TAMPA

NOT SERVED CLOSED DUE TO COVID UNKOWN WHEN REOPENING

 

 

UNSERVED

DEFENDANT PRICE WATERHOUSE COOPERS LLC -

RETURNED OUTSTANDING/SERVABLE

 

 

DATE/TIME:
ADDRESS:
REASON:
REMARKS:

06/01/2020 10:40 BY: 232343 - SOTO, HERBERT

4040 BOY SCOUT BL W, TAMPA
NON SERVICE - ATTEMPTS MADE
NOT SERVED CLOSED DUE TO COVID UNKOWN WHEN REOPENING

 

 

Electronically Filed (HCSO): Hillsborough County/13th Judicial Circuit at: 06/03/2020 10:30:44 AM
P.O. BOX 3371 HILLSBOROUGH COUNTY TAMPA, FLORIDA 33601 PHONE (813)242-5200 WWW.HCSO.TAMPA.FL.US

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Filing # 120442706 E-Filed 01/28/2021 04:38:49 PM

IN THE CIRCUIT COURT OF THE THIRTEETNH JUDICIAL CIRCUIT
IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
CIVIL DIVISION

ANNETTE CHISHOLM, CASE NO: 20-CA-304
Plaintiff,

Vv.

PRICEWATERHOUSECOOPERS LLP,

MARY SASLOW, and

WARREN HOLDING,

Defendants.
/

 

DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

COME NOW Defendants, PricewaterhouseCoopers LLP (“PwC”), Mary Saslow
(“Saslow”), and Warren Holding (“Holding”) (collectively “the Defendants”), by and through their
undersigned counsel, and hereby move to dismiss Plaintiff, ANNETTE CHISHOLM’s
(“Plaintiff”) Amended Complaint for failure to serve process within the time period specified by
Florida Rule of Civil Procedure 1.070(j). In support of the instant motion, Defendants state as
follows:

lL. On January 13, 2020, Plaintiff filed her Complaint in this Court, alleging race
discrimination in violation of 28 U.S.C. § 1981. The Complaint is attached hereto as Exhibit A.

2. On March 6, 2020, Plaintiff filed an Amended Complaint. The Amended Compiaint
is attached hereto as Exhibit B.

3, To date, Plaintiff has not served the Defendants with the Complaint or the Amended

Complaint.
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4, Furthermore, Plaintiff did not file a motion for an extension of time to serve her
pleadings upon the Defendants.

5. Florida Rule of Civil Procedure 1.070() states:

If service of the initial process and initial pleading is not made upon a defendant

within 120 days after filing of the initial pleading directed to that defendant the

court, on its own initiative after notice or on motion, shall direct that service be

effected within a specified time or shall dismiss the action without prejudice or drop

that defendant as a party; provided that if the plaintiff shows good cause or

excusable neglect for the failure, the court shall extend the time for service for an

appropriate period. When a motion for leave to amend with the attached proposed
amended complaint is filed, the 120-day period for service of amended complaints

on the new party or parties shall begin upon the entry of an order granting leave to

amend...”

Fla. R. Civ. P. 1.070G) (2020) (emphasis supplied)

6. The trial court shall extend the time for service when a plaintiff shows good cause
for failure to serve process within 120 days of the filing of the initial pleading. Roberts v. Stidham,
19 So.3d 1155, 1157 (Fla. Sth DCA 2009). However, where no good cause for failing to meet the
120-day deadline has been shown, the trial court has broad discretion either to extend the time for
service, or to dismiss the action without prejudice. Jd. If reasonable cause for the delay in service
is not documented, dismissal is required. /d. at 1158 (citing Root v. Little, 721 So.2d 836, 837 (Fla.
Sth DCA 1998)).

7. Reasonable cause for delay in service may be demonstrated if Plaintiff can show
diligent efforts to locate the Defendants. See e.g. Hyppolite v. American Tower Asset Sub, LLC,
2020 WL 6037245 (S.D. Fla. June 24, 2020) (applying Florida law) (holding there was reasonable
cause for the delay in service where plaintiff used investigators, attempted to serve defendant at
multiple addresses and pursued substitute service through the Secretary of State before eventually

personally serving the defendant); see also Roberts v. Stidham, 19 $o.3d 1155 (Fla. 5th DCA 2009)

(reversing trial court’s dismissal of plaintiffs complaint because plaintiff demonstrated reasonable
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cause for delay in service where his process server filed an affidavit documenting all failed
attempts to serve the defendants, including personally attempting to serve the complaint on at least
ten different occasions, leaving a business card on defendants’ door and speaking with a neighbor
to inquire about defendants’ whereabouts).

8. The Affidavit of Non-Service filed by the Hillsborough County Sherriff on June 3,
2020, attached hereto as Exhibit C, clearly demonstrates that PwC’s Tampa location has been
closed due to the COVID-19 pandemic, and therefore the process server was unable to effect the
service on PwC at that location. Based on the review of the Circuit Court docket, Plaintiff made
no other attempts to locate PwC’s registered agent to effect service of her Amended Complaint on
PwC, nor did she make any attempts to serve Saslow or Holding.

9, More than a year has passed since Plaintiff filed her initial Complaint on January
13, 2020, and more than ten months have passed since Plaintiff filed her Amended Complaint on
March 6, 2020, The Defendants were named as the Defendants in both Complaints.

10. ‘It is apparent that Plaintiff made no diligent efforts to serve PwC, Saslow or
Holding with her Amended Complaint, and there is no reasonable cause for the delay in service.
Accordingly, pursuant to Rule 1.070G), Fla.R.Civ.P., the dismissal of the instant action is
warranted.

WHEREFORE, the Defendants respectfully requests that this Honorable Court grant

Defendants’ Motion to Dismiss Plaintiff's Amended Complaint.

DATED: January 28, 2021.
Respectfully submitted,

/s/ Peter W. Zinober
Peter W. Zinober
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Florida Bar No. 121750

Maja A. Hartzell

Florida Bar No. 1022333

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tamdocketing@ogletree.com

Attorneys for Defendants

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 28th day of January, 2021, the foregoing was filed with
the Clerk of the Court via CM/ECFR, and a true and correct copy was sent via U.S. mail to Plaintiff,
Annette Ruth Chisholm, at her last known address at:

1902 West Spruce Street
Tampa, FL 33607

/s/ Peter W. Zinober
Attorney

 

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Exhibit “A”
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Plawndif— Amine te Chisholm

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January 12, 2020 | Delerdhent Pw C Many Ses] on ° + elating

Yn this case the platatiff Annette Chisholm has made a claim under the Federal Ctyil rights statue (section
1981} that prohibits discrimination against an employee because of @ persons race,

Specifically Annette Chisholm claims that she was racially discriminated against by two of PwC's readership

team Warren Holding and Mary Saslow because of plaintiffs race. OM
5 { na
os re PEF
PwC denies that Annette was discriminated against in any way. 520 20 CA 5 = (ml
PNES = SS
: : : gs mm a) i.
I will now instruct you more fully on the issues you must address in this case, “%) mary
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On the issue of race discrimination the plaintiff Aanette Chisholm was singled out and the only individual on
the entire Ethics and Compliance team not allowed to move to a flexible work arrangement after the six
month in office period prescribed by leadership, On 1/3/2017 via telephone her Manger Maureen Greene (a
black Kenyan) who sat in the firms NJ office at the time advised her that she would not be able to work from
home. Maureen ativised her “leadership” felt like there were areas that needed improvement. The plaintiff
then asked her what those areas were and Maureen replied “Katherine you're supervisor will tell you". When
the plaintiff asked Katherine Israel (white Jewish female) her supervisor what the areas of improvement

were, Katherine replied she didn’t feel like she should have been prevented from working from home. She

was not givert any specific reason nor asked prior to Warren Holding’s (white South African male) decision

to prevent the plaintiff from moving to a flexible work arrangement. Katherine, the plaintiff's supervisor sat
in the Tampa office close in proximity to the plaintiff and the defendant Warren/PwC. Keep in mind the
entire firma workforce is a flexible work arrangement. Employees must reserve hatel/seating on in office
days, The job the plaintiff way hired for on the Ethics and.compliance clearances team was a flexible work
arrangement, The tearm had White females (on operations team) on legitimate HR performance
improvement plans what the firm calls a “PIP”, who were allowad to work from home. Also please find the
plaintiffs performance snapshot enclosed for the period in which she was denied a flexible work arrangement

due to “work performance”,

Further on the issue of racial discrimination the defendant Mary Saslow/PwC hostile and abusive tone and
acts were never directed towards the plaintiffs back up support Shelley Bartlett who is white. Only the
plaintiff was subjected to threats to call her man ager from March 2017 until the plaintiff left on disability
leave, The defendant Mary did follow through reaching out to the Plaintiffs manager Gavin Mitchell

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once. She defendant Mary Saslow/PwC emailed the plaintiffs manager after an overly aggressive
conversation with the plaintiff where she made good on her threat. In the email Mary asked Gavin about
docoment editing, The defendant had spoken to the plaintiff via the phone whe advised her that she was not
a expert in the particular program Mary needed assistance with but could find a colleague whe could ar use
the firms document production to ensure a timely tumnaround. This is the standard procedure in the ASC,
The plaintiff's manager gave her the same response as Ammette did minutes earlier, The defendant Mary
only provided one performance feedback to Gavin. In that feedback via phone Mary asked the plaintiff's
manager “what does Annette do?”. The plaintiff had previously provided her the standard menu of services _
and 2 biographies (one video one written) when she began supporting Mary, Mary was well informed on the
plalntiff's time with the firm, jobs, education background +o personal hobbies and family members. The
defendant Mary did not provide any negative or adverse work performance issues during the initial feedback
and never provided any feedback to subsequent managers, in spite of her apparent dissatisfaction with the

plaintiff,

On the issue of Hostile and abusive work environment. Please find enclosed emails from the plaintiffte
defendant/PwC Human Resources and Ethies and compliance in regards ta Warren's discriminatory
actions, The plaintiff still does not know the reason she was prevented from joining the entire team in
moving to a flexible work arrangement. The plaintiff Annette remained in the office with no guidance, no
instruction nor acknowledgement of wrong doing from 1/3/17 until she started a new role 2/2/17. No
corrective action was taken. The defendant Warren Holding was promoted to director shortly after. On the
game issue as in regards to the defendant Mary Saslow/PwC, Mary was extremely tactful with her hostility
and abuse by using the firms Google hangouts to send threatening and intimidating messages of aggression
ending with immediately or urgent prompting the plaintiff to call her as te not leave a trace or paper trail.
The plaintiff was out on hereavement after two deaths one week apart. During her leave from work the
defendant Mary made changes to her travel reservations. The day the plaintiff returned to work Mary
aggressively accused her of canceling her flight. Ona telephone call Mary accused the plaintiff three

times, Mary still not believing Annette she then made the plaintiff call AMEX travel on § way to find out the
flight had net been cancelled, The plaintiff did not go to HR after the incident but did tell her manzger.
Keep in mind the plaintiff got no rernedy nor neutrality from her previous HR/Ethics and CompHance
eomplaints and she knew the procesa to remove Mary from her desk would take time. The plaintiff felt the
PwC work environment had become too stressful and toxle and began taking a toll on her physically and

emotionally so she took the short-term disability benefits on 01/18/2019.

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The plaintiff is seeking compensatory damages in the amount of $93 million dollars. The plaintiff has been

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medically diagnosed with PTSD, Depression, Anxiety and insommia by a psychiatrist. In addition to loss of

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enjoyment of life, the plaintiff suffered embarrassment and humiliation in both the work office and the home

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office, The plaintiff went two years without filing taxes, late on bills, lack of physical exercise. Please keep in

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mind that the plaintiff is also a disabled veteran and single mother and suffers from thyroid

arise se

disease. Management of stress plays a huge part in managing thyroid disease and she was a very physically
it individual a ranner, boxer and snowboarder. ‘The plaintiff suffered several thyroid crisis episodes as 4
result of the stress having to have her daily dosage of synthroid adjusted each time, The plaintiff is mindful
of the stress go much to the extent that she left PwC in 2014 after suffering a medical emergency, divorce and
death of a close friend to heal. The plaintiffs’ cousin (like a sister) was diagnosed with cancer a week after the
first discrimination incident took place involving the defendant Warren. The plaintiff says she went into
fight or flight mode and ended up in another hostile discriminatory work environment with Mary, The
plaintiff yeturnad to work December 18, 2018 after her cousin succumbed to cancer. The same day back
from bereavement/vacation Mary belligerently accused Annette of cancelling a flight she made while the
plaintiff was out, The plaintiff was turned down by two psychiatrists who would not treat her without
medication both stated that the issues were toc compounded to not treat without medication, She ended up
being prescribed medication after finding a Holistic Psychiatrist whom she is currently under the care of and
paying out of packet because the insurance would not cover this provider. ‘the plaintiff was terminated
from employment from PwC on 12/23/2019 after her long-term disability was denied. She is working to
appeal the denial with the insurance company. The plaintiff has suffered financial hardships that have
caused her to depend on public assistance and outreach programs for food stamps assistance and belp with
utilities, The ermotlonal distress has been severe to the point it’s affected the plaintiffs family relationships
all in the midst of healing, grieving and coping with unavoidable life issues, compounded with having to see
Warren on in office days and dealing with Mary and being made to feel uncomfortable working from home.
The plaintiff truly tried to make it work after the first incident by moving to another role only to have that

same negative element appear again and make her time at PwC incredibly hard.

” ‘The plaintiff is asking the court to consider punitive damages. PwC is a very large global firm and has an
impeccable reputation for being a leader in diversity and it’s efforts to build trust in society and solve
important problems. The deliberate ill actions of the defendants Mary and Warren/PwC are not in line with
the firm’s core values (act with integrity, make a difference, care, work together). Nor are they in line with
the firm’s professional framework, which is applicable for staff and leadership regardless oflevel. Warren is
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a global transfer from South Aftica and has managed large groups of individuals with his time managing the
Service Delivery Center primarily comprised of young people fresh out of college, H's extremely hard to
comprehend that he would need additional “coaching” on performance improvement and disciplinary
actions or not reack out te HR when in question to ensure he was acting within firm policies or procedures.
Leading one to believe the defendants actions were deliberate with ill intent directly solely at the plaintiff,
‘The same goes for Mary she has been employed with the firm for over $2 years no bad day or personal
struggle/issue cant justify thelr actions/bebavior in a workplace setting. Their actions undermine the firm’s
initiative to build a diverse and inclusive work environment instead their actions create a liability for the
firm, The plaintiff has been employed with the firm for over 10 years and has no disciplinary actions or
behavioral issues in the workplace and she has had a turbulent 9 years since rejoining PwC and did not act
out in the workplace. The plaintiff felt ke it was what the defendants wanted her to do and live up to a
“stereotype” to justify their iil actions. The plaintiffin her role prior to going out on leave supported 2
Partners and 5 Managing Directors and knows what good leadership that aligns with the firms core values

and framework leoks jike and carried herself with decorum while working,

“Attachments enclosest

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A

annem Forwarded message ~--——~-—~ .

From: Annette Chisholm (US — IFS) < >
Date: Mon, Feb 13, 2017 at 16:01 AM

Subject: Re: E&C Clearances Team

To: Jessica Raniolo (US - IFS) < >

Hi Jessica, I'm back in the office today. My calendar is up
to date and I'm available at your earliest convenience. Look
forward to speaking with you.

Kind regards,
Annette

On Wed, Feb 1, 2017 at 9:20 PH, Jessica Raniolo (US — IFS)
< > wrote:
Hiv Annette,

I am sorry to hear you are still not doing well. Please Let ma
know once you are back and I will set up some time to connect
further on this concern that you have raised and determine
appropriate next steps.

Thank you,
Jessica

101 Hudson Street, Jersey City, New Jarsey, 07902

Office: (201) 521-4408 Cell: 914-494-5517
Email:

On Wed, Feb 1, 2017 at 2:3@ PM, Annette Chisholm (US ~ IFS)
< > wrote:

Hi Jessica,

I'm stilt not 100%, it's been a stressful situation and I
start my new role Monday. I have medical issues that become
aggravated by stress.

My biggest concern is why was I was the only coordinator
unable to work from home? It is my assumption that the emails
I forwarded you are why. I also ask that you please talk to
other F&C teammates about the meeting that took place in my

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absence. I know for sure that Norris and Rachel were in the
meeting and both said that Warrens tone on the matter made
everyone in the room feel uncomfortable. I can not speak to
it only that it was a honest mistake on my part. I also know
that I was not the only person to make that error.

 

Regards,
Annette

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&

On Wed, Feb 1, 2017 at 8:40 AM Jessica Raniolo (US ~— IFS)

< > wrote:

Hi Annette,

Hope you are feeling better and I am sorry to hear you are not
feeling well! Thank you for the note. When you are back, I
think it would be best to set up some time to connect so I can
better understand your concern.

Please Let me know when you are feeling better and back at
work and J will set something up.

Thank .you,
Jessica

1031 Hudson Street, Jersey City, New Jersey, 07902

Office: (201) 521-4408 Cell: 914-494-5527
Envi:

On Mon, Jan 30, 2017 at 12:32 PM, Atinette Chisholm (US -
IFS) < > wrote:

Hi Jessica, There is a matter I would tike to make you aware
of. ‘I am a coordinator on the E&c
Clearances team. After the holiday break

I was told I could not work from home. I was the only
coordinator that

couldn't. =I asked

Maureen would she tell me the reason and she said she would
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rather my
supervisor sr associate Katharine did.

She assured me that it wasn’t need for worry it was not Like I
made

errors in work performance and she felt confident it was
something I could

get or improve on. In my opinion and

Maureen's tone it seemed as though she delivered the message
reluctantly.

I had my opinion on the reason I was unable to work from
home. .It wasn’t until I shared the news

with my team members Norris & Rachel they gave me their
opinion based on a vacation

matter that was. discussed in a meeting by Warren. I was”

out on vacation and forgot to update the team calendar, I was
not the only ‘

person per Maureen and it was supposedly mentioned in the
meeting. I’ve heard that the tone of the meeting made

everyone very uncomfortable. I was not

in the office so cannot speak to what was said in a meeting to
' make them voice |

their opinion to me, This issue has caused me great stress.
both

physically and emotionally. Last week I had a conversation
with Katharine who

told me she voiced her opinion on how she thought it was
unfair, This has been the consensus of people who have

 
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spoken to me about my not being able to work from home.

I have accepted another role internally and will be starting
2/6. I was sick with a cold/flu virus

and came into the office twice to interview for jobs outside
of E&C. We've had several issues on our team and one—
individual was fired. A majority of

my time on the team was stressful to the extent it aggravated
pre-existing

health/medical issues. I didn't feel as though

it was in my best interest to speak up earlier until I had a
full time permanent rote with PwC. I’ve been with PwC 9

years and have never been treated Like this especially with no
valid explanation or

reason. If it is not my work
performance, what is it? I am out today.
I’ve taken a sick day. Please feel free

to call me at your convenience niy cell is 813-391-5369

Annette Chisholm

PwC Ethics & Compliance

Office: 813.577.4201 | Cell: 813.838.6428
Email:

PricewaterhouseCoopers LLP

4040 W Boy Scout Blvd, Tampa FL 33607

Thoughts don't need paper to take shape

 
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Thoughts don't need paper to take shape

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Thoughts don't need paper to take shape

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areca Forwarded message ----~---

Prom: ‘Annette Chisholm (US - IFS) < >
Date: Wed, Apr 5, 2017 at 5:09 PM

Subject Re: Connect

To: Steve Kessler (US - IFS) < >

Thank you for the update Steve.
On Wed, Apr 5, 2017 at 3:42 PM, Steve Kessler (US - IFS} < > wrote:

Annette,
Thank you for raising your concerns.

Len Assante, E&BC Manager, will be reaching out to you to discuss the concerns you set forth In
the email below.

Thanks again.

Steve
On Thu, Mar 30, 2017 at 12:32 PM, Annette Chisholm (US - IFS) < > wrote

Hi Steve, Hope you're

well, | did speak with Jessica earlier this week. [ am stilf

unclear of why | was singled out and unable to work from home out of all the
coordinators as well as the entire E&C team. The reason Jessica

provided was "Leadership felt that | was not progressing with my peers and

could benefit being in the office longer." Please keep in mind |

have been with PwC for over $ years approximately 2 1/2 of those working from
home. | asked if this decision was based on speaking to my immediate |

supervisor Katharine and manager Maureen as they would be best to determine
my

work quality versus the Leadership Warren and/or Allison. She responded
yes...she also mentioned my snapshots. | have one complete snapshot from

Jun-Aug and one that has been acknowledged by Katherine from Oct- Jan. So
again I'm confused

as to what the decision was based on. | do not believe Maureen nor

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Katharine were consulted or asked about my work performance or ‘progression’

 

prior to the decision..

I'm now even more

inclined to believe the decision was made deliberately and consciously. |

feel as though Warren may have a blind spot when it comes to diverse
individuals. | had a conversation with Norris Dicks who is the sole

remaining coordinator on clearances previously. Norris wanted to apply

for the senior associate role on clearances and like every coordinator that

left clearances for other roles reached out to Warren. His conversation with
Warren was very different from the other coordinators. He was given the

same blanket leadership reasoning of why he was not ready for progression that

| received from Jessica. My response and advice to him was to reach out

 

to our manager Maureen and his supervisor to find out the specifics.

if | had any issues

with my work performance/ progression } should've been made aware of the
specific areas. | asked for those areas Maureen could not provide any and
my assumption is because Warren/leadership never provided a reason. How
could [| have been re-evaluated at a month without knowing what the initial
factor that kept me from working from home was? | would like to know what
facts Warren and/or Leadership based the decision on. i'm very mindful of

my personal and professional brand. This matter was and is still is
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a stressful one, the resolution provided by Jessica is disheartening and not
justification of my unfair treatment. | would greatly appreciate

any assistance you could provide in the matter.

Kind Regards,

Annette
On Sun, Mar 26, 2017 at 11:22 AM, Steve Kessler (US - IFS) < > wrote:

Anette, ,
Thanks for folowing up. | will get back io you.

Steve .
On Wed, Mar 22, 2017 at 11:49 AM, Annette Chisholm (US - IFS) < > wrote:

Hi Steve, Hope all is well, Just touching base to see if a reason was given on my being the only individual
on the entire team unable to work from home?
Kind Regards,

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cove prt gb betes
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Annette .
On Thu, Mar 2, 2017 at 10:03 AM, Steve Kessler (US - EFS) < > wrote:

Annette, thanks for sending. Looking forward to speaking with you.

Steve
On Thu, Mar 2, 2017 at 9:29 AM, Annette Chisholm (US - IFS) < > wrote:

Hi Steve, I've forwarded some of the emails from my Interaction with Jessica, Thanks for taking the time
to comnect and discuss the issue. During my phone conversation IJ did not get the 'neutral' perspective on
the issue I had anticipated. J felt as if Jessica made excuses for the behavior and at one point gave her
personal opinion on how she didn't think Warren would not do something like that intentionally, The fact
still remains, I still was never given a reason on why I was the only coordinator unable to work from
home. [look forward to our conversation,

Kind Regards,
Annette Chisholm

PwC | Administrative Support Concierge
Offica: } Cell:
Email:
PricewaterhouseCoopers LLP
40640 W Boy Scout Blyd, Tampa FL 33607

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